77 F.3d 470
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Nicholas J. QUEEN, Sr., Petitioner-Appellant,v.Edward BRENNAN;  Joseph J. Curran, Attorney General of theState of Maryland, Respondents-Appellees.
    No. 95-7541.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 6, 1996Decided Feb. 16, 1996.
    
      Nicholas J. Queen, Sr., Appellant Pro Se.  Kathryn L. Grill, SMITH, SOMERVILLE &amp; CASE, Baltimore, Maryland;  Jefferson McClure Gray, Assistant United States Attorney, Baltimore, Maryland, for Appellees.
      Before MURNAGHAN, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Queen v. Brennan, No. CA-95-859-WMN (D.Md. Aug. 22, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    